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5    Attorney for Defendant
     MANOLO REYES
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8
                                     UNITED STATES DISTRICT COURT
9
                                     EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,                        No. 2:12-CR-0187 TLN
12
                        Plaintiff,                    STIPULATION AND ORDER FOR
13                                                    CONTINUANCE OF STATUS
            v.                                        CONFERENCE
14
     MANOLO REYES,
15

16                      Defendant.
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18
            IT IS HEREBY stipulated between the United States of America through its undersigned
19
     counsel, Assistant United States Attorney Paul Hemesath, and defendant Manolo Reyes, through his
20
     undersigned counsel Dwight Samuel, that the previously scheduled status conference date of
21
     November 6, 2014, be vacated and the matter set for status conference on December 11, 2014.
22
            The reason for this request is that counsel has been appointed to represent defendant based
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     upon a conflict. Counsel has received discovery which consists of 109 pages and 27 audio cd’s.
24
     Upon review of discovery provided counsel noted that there was no documentation of the
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     convictions suffered by the defendant. Counsel has obtained the services of both and investigator and
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     and expert in the calculatoins of criminal history and have recieved reports. Upon further discussion
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     with my client I believe some of the entries in his RAP and used in the calculations of his criminal
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     history are those of his brothers. I have requested additional discovery and am undertaking additional
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     investigation regarding this issue. I need additional time to investigate and confirm these facts.
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            The parties further agree and stipulate that the time period from the filing of this stipulation
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     until December 11, 2014, should be excluded in computing time for commencement of trial under
5
     the Speedy Trial Act, based upon the interest of justice under 18 U.S.C. § 3161(h)(7)(B)(iv) and
6
     Local Code T-4, to allow continuity of counsel and to allow reasonable time necessary for effective
7
     defense preparation. It is further agreed and stipulated that the ends of justice served in granting the
8
     request outweigh the best interests of the public and the defendant in a speedy trial.
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10          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
11
            So stipulated,
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13          Date: October 30, 2014                                           /s/ Dwight M. Samuel
14                                                                 Dwight M. Samuel
                                                                   Attorney for Defendant
15                                                                 Manolo Reyes

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            Date: October 30, 2014                                    /s/____________________
17                                                                 Assistant U.S. Attorney
                                                                   Paul Hemesath
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          Case 2:12-cr-00187-TLN Document 99 Filed 11/05/14 Page 3 of 3


1                                                    ORDER
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3           The Court, having received, read, and considered the stipulation of the parties, and good

4    cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order. The Court

5    finds that the ends of justice to be served by granting the requested continuance outweigh the best
6    interests of the public and the defendants in a speedy trial.
7
            The Court orders that the time from the date of the parties' stipulation, October 30, 2014, to
8
     and including December 11, 2014 shall be excluded from computation of time within which the trial
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     of this case must be commenced under the Speedy Trial Act, based upon the interest of justice under
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11   18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T-4, to allow continuity of counsel and to allow

12   reasonable time necessary for effective defense preparation.

13          It is further ordered that the November 6, 2014 status conference shall be continued to
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     December 11, 2014 at 9:30 a.m.
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            IT IS SO ORDERED.
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19   Dated: November 4, 2014

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23                                       Troy L. Nunley
24                                       United States District Judge

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